       Case 3:22-cv-00178-SDD-SDJ           Document 215-1      01/03/24 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF LOUISIANA

 Dorothy Nairne, et al.,

        Plaintiffs,

 v.
                                                 Civil Action: 3:22-cv-00178

 Kyle Ardoin, in his official capacity as
 Secretary of State for Louisiana,

        Defendant.


                                     [PROPOSED] ORDER

       CONSIDERING the foregoing Motion to Withdraw as Counsel,

       IT IS ORDERED that Angelique Freel is withdrawn as counsel of record for Intervenor-

Defendant the State of Louisiana, through Louisiana Attorney General Jeff Landry.


       READ SIGNED AND DATED this _____ day of _______________, 2024, in
       Baton Rouge, Louisiana.



                      ______________________________________________
                                             Judge
                                  United States District Court
                                  Middle District of Louisiana
